     Case 3:16-cv-01785-BEN-BLM Document 31 Filed 07/24/17 PageID.240 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    MARISSA GLOVER,                                  Case No.: 3:16-cv-01785-BEN-BLM
12                                    Plaintiff,
                                                       ORDER GRANTING JOINT
13    v.                                               MOTION TO DISMISS
                                                       DEFENDANT COMENITY
14    COMENITY CAPITAL BANK, et al.,
                                                       CAPITAL BANK
15                                 Defendants.
16
17         The Court has considered the Joint Motion for Dismissal with Prejudice (the “Joint
18   Motion”) filed by Plaintiff Marissa Glover and Defendant Comenity Capital Bank
19   (“Comenity”). (Docket No 30.)
20         For good cause shown, the Joint Motion is GRANTED. Defendant Comenity is
21   DISMISSED WITH PREJUDICE from the action. Each party shall bear its own fees
22   and costs.
23         IT IS SO ORDERED.
24
25   Dated: July 21, 2017
26
27
28
                                                   1
                                                                          3:16-cv-01785-BEN-BLM
